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                                 Memo on Seattle Court Order Progress


TO: The Honorable James L. Robart, Senior United States District Judge of the United States
        District Court for the Western District of Washington
FR: Antonio M. Oftelie, Federal Monitor, Seattle Police Department
DT: March 29, 2024
RE: Status of Milestones for Seattle Consent Decree Agreement on Sustained Compliance


On September 7, 2023, the United States District Court for the Western District of Washington
issued an order granting in part and denying in part a joint motion to approve a proposed
agreement on sustained compliance with the Consent Decree. 1 (See United States of America v.
City of Seattle, No. C12-1282JLR (W.D.Wash.), Dkt. # 769.)

The Order of the Court included milestones that the City and SPD must meet to demonstrate
sustained full and effective compliance with the use of force and accountability requirements of
the Consent Decree. Below are the ordered categories of deliverables, milestones and tasks, and
current status (as of March 29, 2024):

Use of Force

    •     Milestone and Tasks: SPD shall revise its crowd management policy to address feedback
          from the ongoing Sentinel Event Review (“SER”) process and ensure that officers are
          trained on the updated policy.




          1
           The term “Consent Decree” refers collectively to the Parties’ settlement agreement (Dkt. 3-1); the Parties’
Memorandum of Understanding, which established the Community Police Commission (“CPC”) and the Crisis
Intervention Committee (“CIC”) as required by the settlement agreement; and the court’s September 21, 2012 order
modifying and preliminarily approving the settlement agreement (Dkt. 13).



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             o Current Status: The crowd management policy is currently in development by the
               City, including efforts to further modify and/or develop city ordinance and align
               with best practice.

   •   Milestone and Tasks: SPD shall develop an alternative reporting and review process for
       force used in crowd settings to address the Monitor’s findings regarding breakdowns in
       reporting and review that occurred in 2020. The alternative process shall be designed to
       ensure timely reporting and review even in the event that significant, sustained protests
       arise again.
           o Current Status: This milestone is in currently in development and contingent on
               the revised crowd management policy.

   •   Milestone and Tasks: SPD shall continue to consider and respond to the
       recommendations of the SER process. SPD shall provide a report on the status of all
       recommended policy changes arising out of the SER process to the court no later than
       two weeks after the filing date of this order. In the event a specific recommendation of
       the SER directed to SPD does not result in a policy change, the reasons shall be explained
       in the report.
           o Current Status: This milestone is complete and filed with the Court. 2

   •   Milestone and Tasks: SPD shall provide a report to the court no later than December 15,
       2023, on the status of implementation of RCW 10.114.011 and RCW 43.102.020,
       regarding investigations of the use of deadly force, including an explanation of how this
       legislation affects SPD’s Force Investigation Team (see Consent Decree ¶¶ 112-18).
           o Current Status: This report is complete and filed with the Court. 3

Accountability

   •   Milestone and Tasks: In a technical assistance role, the Monitor shall retain an
       independent consultant to complete the Seattle Accountability System Sustainability
       Assessment of the City’s police accountability systems.
           o Current Status: This assessment is complete and filed with the Court. 4




       2
           U.S. v. Seattle, Dkt. # 773

       3
           U.S. v. Seattle, Dkt. # 781

       4
           U.S. v. Seattle, Dkt. # 782



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   •   Milestone and Tasks: SPD shall develop a data transparency, usability, and accessibility
       plan that addresses how to improve the collection of data on race in stops, detentions, and
       use of force; incorporate this data in reporting; and provide public access to these reports
       and any other data that CPC and OIG identify as being critical to transparency.
           o Current Status: A preliminary plan was completed and filed with the Court. 5
               Work is now being conducted to implement the plan, and progress will be
               reported to the Court in future filings.

   •   Milestone and Tasks: Collective Bargaining. Within 30 days of reaching a Tentative
       Agreement with SPOG regarding the 2021 renewal of the SPOG CBA, the City shall file
       with the court an analysis of the Tentative Agreement’s effect, if any, on SPD’s
       accountability and review systems and the implementation of the City’s Accountability
       Ordinance.
          o Current Status: Pending ongoing bargaining between the City and SPOG.

Ongoing Assessments

   •   Milestone and Tasks: To ensure that the progress documented in previous assessments is
       sustained, SPD shall update outcome measures around the use of force (including crowd
       management); crisis intervention; stops and detentions; bias-free policing; and
       supervision (including the Early Intervention System, now known as the Equity,
       Accountability & Quality System). OIG shall review SPD’s reporting and data analysis
       for accuracy.
           o Current Status: This update is complete and filed with the Court. 6

   •   Milestone and Tasks: In collaboration with the Monitor, OIG shall develop a Workplan
       describing its approach for ensuring continued robust, independent monitoring of SPD.
       As part of the Workplan, OIG shall develop a methodology and timeline for ongoing
       assessment of the following areas: use of force (including crowd management); crisis
       intervention; stops and detentions; bias-free policing; and supervision (including the
       Force Review Board and the Equity, Accountability & Quality System).
           o Current Status: This workplan is complete and filed with the Court. 7




       5
           U.S. v. Seattle, Dkt. # 781

       6
           U.S. v. Seattle, Dkt. # 792

       7
           U.S. v. Seattle, Dkt. # 774



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•   Milestone and Tasks: OIG shall conduct a Use of Force Assessment examining 2021,
    2022, and 2023 data on SPD’s use of force. As components of the Use of Force
    Assessment, OIG shall examine force used in crisis incidents, the use of less lethal
    devices, and force used in the crowd management context. The assessment also shall
    provide an update on the force-related issues identified by the Monitor in the 2022
    Comprehensive Assessment.
       o Current Status: This Assessment was submitted to the Court. 8 Ongoing work
           including qualitative review of use of force is being considered.

•   Milestone and Tasks: SPD shall develop a comprehensive plan for applying best-practice
    methodological approaches to identifying racial disparities in use of force, crisis
    intervention, and stops and detentions. (See, e.g., 2022 Comprehensive Assessment at
    74-80 (discussing racial disparities in use of force); id. at 133-44 (discussing disparities
    across SPD’s enforcement activities).) This plan will include approaches for identifying
    disparities caused by police activities and evidence-based mitigation strategies. This plan
    will be developed in collaboration with OIG, with technical assistance by the Monitor
    and input from the CPC.
        o Current Status: A preliminary plan was completed and filed with the Court. 9
            Work is now being conducted to implement the plan, and progress will be
            reported to the Court in future filings.




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        U.S. v. Seattle, Dkt. # 792

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        U.S. v. Seattle, Dkt. # 792



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